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5    Attorney for Defendant JENNY CHU
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8                                UNITED STATES DISTRICT COURT

9                               EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                       No. 2:18-CR-00134-MCE
11
                          Plaintiff,
12
                                                      ORDER GRANTING SUBSTITUTION OF
13
      v.                                              ATTORNEY

14
      JENNY CHU
15
                          Defendant.
16

17

18

19         Candice L. Fields, retained counsel, seeks a consent order granting substitution of
20   attorney, and the defendant has requested that the Court appoint an attorney to represent
21   her pursuant to the Criminal Justice Act. The attached Financial Affidavit In Support of
22   Request For Attorney without Payment of Fee appears to qualify her for appointed counsel.
23   ///
24   ///
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26   ///

27   ///

28   ///
                                               -1-
                              ORDER GRANTING SUBSTITUTION OF COUNSEL
           Case 2:18-cr-00134-JAM Document 38 Filed 08/20/19 Page 2 of 2


1
           Accordingly, the Substitution of Attorney is granted; Philip Cozens is hereby
2    appointed to represent the defendant pursuant to the Criminal Justice Act.
3          IT IS SO ORDERED.
4    Dated: August 20, 2019
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                              ORDER GRANTING SUBSTITUTION OF COUNSEL
